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                                ATTACHMENT
       Pursuant to Paragraph 6 of the Court’s June 7, 2018 Order, the following
attorneys support Arthur Murray’s application for appointment to lead counsel. To
the applicant’s best information and belief, no firm or attorney objects to Arthur
Murray’s appointment to lead counsel.
   1. Timothy G. Blood
          Blood Hurst & O’Reardon, LLP
   2. Christopher P. Ridout
          Zimmerman Reed
   3. Lesley E. Weaver
          Bleichmar Fonti & Auld LLP
   4. Tina Wolfson
          Adhoot & Wolfson PC
   5. Gary F. Lynch
          Carlson Lynch Sweet Kilpela & Carpenter LLP
   6. Karen H. Riebel
          Lockridge, Grindal, Nauen P.L.L.P.
   7. Kenneth W. Dejean
          The Law Offices of Kenneth W. Dejean
   8. Derek W. Loeser
          Keller Rohrback LLP
   9. W. Craft Hughes
          Hughes Ellzey, LLP
  10. Daniel C. Hedlund
          Gustafson Gluek PLLC
  11. Ben Barnow
          Barnow & Associates
  12. Archibald I. Grubb, II
          Beasley Allen Law Firm
  13. April F. Doss
          Saul Ewing Arnstein & Lehr LLP
  14. Michael J. Flannery
          Cuneo Gilbert & LaDuca, LLP
  15. Marlon E. Kimpson
          Motley Rice LLC
